                                                                               JA
Case 1:21-cr-20005-DPG Document 46 Entered on FLSD Docket 01/06/2021 Page 1 of 16


                                                                                       Jan 5, 2021
                           UM TED STATES DISTRICT COURT
                           SOUTH ERN DISTRICT OF FLORIDA
                      21-20005-CR-GAYLES/TORRES
                        CASE NO .
                                      21U.S.C.j846
                                      21U.S.C.j841(a)(1)
                                      18U.S.C.j15121)
                                      18U.S.C.j151209(3)
                                      18U.S.C.j 1512(c)(2)
                                      18U.S.C.j981(a)(1)(C)
                                      21U.S.C.j853

  UM TED STATESOFAM ERICA


  Alœ Eltlco AHIAS cu sro,
  JORGE DIAZ GUTIERREZ,
  YANDRE TRUJILLO IIERNANDEZ,
  and
  ANM S LORENZO ,

                          Defendants.
                                        /

                                        INDICTM ENT

         TheCyrand Jurychargesthat:

                                  GENERAL ALLEGATIO NS

         Ata11timesmaterialtothislndicu ent:
          1.    The Conkollid SubsfnncesAct(GICSA'') govemed themanufacture,disG bution,
   dispensing,andpossession ofcontrolled substnncesin theUnited States. W ith limited exceptions

   formedicalprofessionals,the CSA m adeitunlawfulforany person to knowingly orintentionally

   m anufacture,distribute,dispense,or possess with intentto distribute a conkolled substnnce or

   conspiretodo so.
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         2.    The CSA and its im plem enting regulations set forth which (lrugs and other
  substnncesaredefined by 1aw astçcontrolledsubstancesy''and assi> edthoseconkolled subslnnces

  to one offive schedules(Schedule 1,ll,111,IV,orV)depending on theirpotentialforabuse,
  likelihoodofphysicalorpsychologicaldependency,accepted medicaluse,and accepted safety for

  useunderm edicalsupervision.
         3.     A controlled substnnce assigned to ttschedule 11''meantthatthe drtzg had a lligh

  potentialforabuse,thedrughad acurrently acceptedm edicalusein keatmentin theUnited States,

  oracurrently accepted m edicalusew1t11severeresG ctions.
         4.     PursllanttotheCSA and itsimplem enting regulations,Oxycodonewœsclmssised as

  aSchedule11conkolled substance. 21C.F.R.j1308.12(19. Oxycodone,sometimesprescribed
  underthebrandnameOxycontin,wasusedtotreatseverepain. Oxycodone,asw1t11otheropioids,

  washighly addictive.

         5.     M edical practitioners, such as physicians and nm se practitioners, who were
   authorized to prescrlbe conkolled subslancesby thejudsdiction in wllich they were licensed to
   practicem edicine,wereauthorized undertheCSA to prescribe,orotherwisedisG bute,conkolled

   subsfnnces,ifthey wereregistered withtheAttorney GeneraloftheUnited States. 21U.S.C.j
   82209;21 C.F.R.j 1306.03. Upon application by the practitioner,the Drug Enforcement
   Adminiskation (DEA) mssiR ed a 'mique regiskation number to each qllnlifying medical
   praditioner,includingphysicinnqand nursepractitioners.
          6.     Chapter 21 of the Code of FederalRegulations,Section 1306.04,governed the

   issxlnnce ofprescriptions and provided,nm ong other things,that a prescription for a controlled

   substsncettmustbe issued fora legitim atem edicalpurposeby an individlmlpractitioneracting in

   the usual course of llis professionalpractice.'' M oreover, ttlaln order purporting to be a


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   prescription issued not in the usual course of professional treatment . . . is not a prescription within

   the meaning and intent of [the CSA] and the person knowingly filing such a purported prescription,

   as well as the person issuing it, shall be subject to the penalties provided for violations of the

   provisions of law relating to controlled substances."

          7.      All prescriptions for controlled substances had to be "dated as of, and signed on, the

   day when issued and shall bear the full name and address of the patient, the drug name, strength,

   dosage form, quantity prescribed, directions for use, and the name, address and registration number

   of the practitioner." 21 C.F.R. § 1306.0S(a).

          8.      The Southern District of Florida Health Care Fraud Strike Force (hereinafter "SDFL

   Health Care Fraud Strike Force") consisted of interagency teams made up of federal investigators

   and prosecutors that focused on health care fraud and health care-related narcotics trafficking in the

   Southern District of Florida, including violations of federal laws and regulations described above

   in paragraphs 1-7.

          9.      West Medical Office, inc. ("West Medical") was a corporation organized under the

   laws of the State of Florida and a pain management clinic doing business at 3408 W. 84th Street,

   Suite 309, Hialeah, Florida.

          10.     Pain Management Clinic #1 was a corporation organized under the laws of the State

   of Florida and a pain management clinic doing business in Miami, Florida.

          11.     ALBERICO AHIAS CRESPO, a resident of Miami-Dade County, Florida, was a

   Special Agent with the United States Department of Health and Human Services, Office of

   Inspector General ("HHS-OIG") and since approximately 2010, was assigned to the SDFL Health

   Care Fraud Strike Force.




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             12.   JORGE DIAZ GUTIERREZ, aresidentofM inm i-Dade County,Florida,lived at

   the residenceofALBERICO AH IAS CRESPO and wasa patientrecruiteratW estM edicaland

   Pain M anagementUlinic#1anda purchmserand distributorofOxycodone.

             13.   YANDRE TRUA LLO IV RNANDEZ, a resident of M iam i-Dade County,

   Florida,wasapurchaserand distributorofOxycodone.

             14.   ANM S LORENZO,aresidentofM inmi-DadeCotmty, Floridawasapatientand a

   patientrecruiteratW estM edicaland Pain M mmgementClinic//1 and a purchmserand disi butor

   ofOxycodone.

                   M .P.,A.A.,P.R.,B.R.,M .C.,and L.A ., residentsofM inm i-Dade County,Florida,

   were patientsthatreceived Oxycodone prescriptions from W estM edicaland Pain M anagem ent

   Clinic#1.

                                          co lN 1
      Conspiracy to Distribute and Possesswith Intentto Distribute a Coptrolled Substance
                                          (21U.S.C.j846)
          16.      Theallegationssetforth inparagraphs1through 15 oftheGeneralAllegations

   section ofthisIndictm entarere-alleged and incorporated by referenceasthough fully setforth

   herein.

          17.      Beginningno latertha11in orarolmdNovem ber2016, and continuingthrough on or

   aboutJuly 21,2020,in M ism i-DadeCounty, in the Southern DistrictofFloridw andelsewhere, the

   defendants,

                                Alœ Em co M lu s cu spo,
                                 JORGE m Az GUTIERREz ,
                              Yu oltE TRUJILLO H ERNANDEZ,
                                             and
                                       ANM S LO RENZO ,

   did knowingly and willfully com bine,conspire,and ap ee with each otherand others, know n and


                                                4
Case 1:21-cr-20005-DPG Document 46 Entered on FLSD Docket 01/06/2021 Page 5 of 16



 lmknowntotheCyrandJury,todisd buteandpossesswith intenttodistributeaconkolled substance,

 inviolationofTitle21,Ultited StatesCode,Section 841(a)(1);a11in Wolation ofTitle21,United

 StatesCode,Section 846.
        n econtrolledsubstanceinvolved intheconspiracyattributabletothedefendantsasaresult

 oftheirown conduct,and the conductofother conspiratorsreasonably foreseeable to them ,isa

 mixtm e and substance containing a detectable amountof Oxycodone,a Schedule 11 conkolled

  substxnce,inviolationofTitle21,United SGtesCode,Section 841(b)(1)(C).
                                       CO UNTS 2-4
         DistHbuting and Possessing with Intentto Distributea Controlled Substanee
                                     (21U.S.C.j841(a)(1))
         18.   'I'he allegations setforth in paragraphs 1 through 15 ofthe GeneralAllegations
  section ofthis Indice entare re-alleged and incorporated by reference as though fully setforth

  herein.
         19.    On oraboutthe datessetforth asto each Countbelow,in M iam i-Dade County,in

  theSouthem Disi ctofFloridw and elsewhere,thedefendants,asspecised below ,did knowingly

  and intentionally distributeandpossessw1t11intenttodistribute aconkolled substance,in violation

  ofTitle21,UitedSutesCode,Section 841(a)(1)andTitle18,United StatesCode,Section2:



                                                                                100 TABLETS
                                      JO RGE DIAZ                                    OF
                  5/8/2020            GUTIERREZ                    B.R.         oxycoo oc
                                                                                    30M G
Case 1:21-cr-20005-DPG Document 46 Entered on FLSD Docket 01/06/2021 Page 6 of 16




                                      JO RGE DIAZ
                                      GUTIERREZ,                                  115 TABLETS
                  5/16/2020               and                       A.                 OF
                                                                      A.          oxy
                                   YANDRE TRUJILLO                                    coooxE
                                     IIERNANDEZ                                      30 M G
                                     JORGE DIAZ
         4                             GUTIERREA                                 89TABLETS0F
                  7/17/2020             and                        M .P.          OXYCODONE
                                  YANDRE TRUJILLO                                   30M G
                                    IIERNANDEZ
           Itis further alleged thatthese violations involved a m i
                                                                  xtm e and substance containing a
   detectableam ountofOxycodone, aSchedule11controlled substnnce
                                                                    ,inviolation ofTitle21, United
   StatesCode,Section841(b)(1)(C)  .




                                          COUNT 5
                           Conspiracy to Com m itW itnessTam pee g
                                (18U.S.C.jj1512(b)(3)and@ ))
         20.    The allegations setforth in parar aphs 1 through 15
                                                                        ofthe GeneralAllegations
  section ofthis Indictmentare re-alleged and incom orated b
                                                            y reference as though fully setforth
  herein.

         21.    Beginningno latert11a11in orarotmd Sùptember2019,and continzling through on or

  aboutJuly21,2020, in M iami-Dade County inthe Southem DistrictofFloridw and elsewhere
                                         ,
                                                                                        the  ,
  defendants,

                                ALBERICO AIIIAS CRESPO ,
                                          and
                                JO RGE DIAZ GUTIERREZ,
  did u owingly and willfully combine, conspire,and agree with each otherand others
                                                                                    ,   known and
 unknown to the Grand Jury, to com zptly persuade another person
                                                                    ,   and knowingly engage in
 m isleading conduct toward another person with intent to hinder
                                          ,                     , del
                                                                    ay, and prevent the
Case 1:21-cr-20005-DPG Document 46 Entered on FLSD Docket 01/06/2021 Page 7 of 16



  commlmication to a 1aw enforcementofficerofthe United States ofintbrm ation relating to the

  com mission and possiblecommission ofa Federaloffense,in violation ofTitle 18,United States

  Code,Section 15120943);a11inviolationofTitle18,Urlited StatesCode,Section 15121).
                                        COUNTS 6-9
                                     W itnessTampering
                                    (18U.S.C.j 1512(b)(3))
         22.    The allegations set forth in paragraphs 1 through 15 ofthe GeneralAllegations

  section ofthis Indice entare re-alleged and incop orated by reference asthough fully setforth

  herein.
         23.    On oraboutthe datessetforth asto each Countbelow ,in M iam i-Dade County,in

  the Southem DistrictofFloridw and elsewhere,the defendnnts,as setforth in each Cotmtbelow,

  did co= ptly persuade,and knowingly engage in m isleading conducttoward anotherperson,with

  intenttohinder,delay,and preventthecom mlmication to a1aw enforcem entom ceroftheUnhed

  Statesofinform ation relating to the commission and possiblecom mission ofaFederaloffense,in

  violationofTitle18,UnitedStatesCode,Sections151209(3)and2.



        6               6/8/2020                        JO RG E DIAZ G UTIERREZ

                         7/8/2020                       ALBERICO AH IAS CRESPO

                                                      ALBERICO AH IAS CRESPO and
        8               7/17/2020                       JORGE DIAZ G UTIERREZ

                        7/20/2020                       ALBERICO AHIAS CRESPO
Case 1:21-cr-20005-DPG Document 46 Entered on FLSD Docket 01/06/2021 Page 8 of 16



                                        COIJNT 10
                                Conspiracy to ObstructJustice
                                (18U.S.C.jj1512(e)(2)and(k))
          24.   The allegations set forth in paragraphs 1 through 15 ofthe GeneralAllegations

  section ofthis Indic% entare re-alleged and incorporated by reference as though fully setforth

  herem
      '
          25.   Beginningno laterthm1in oraround September2019,and continuingthrough on or

  aboutJuly21,2020,inM iam i-Dade County,intheSouthern DistrictofFloridw and elsewhere,the

  defendants,
                                 ALBERICO AHG S CRESPO,
                                          and
                                  JORGE DIAZ GUTIERREA
  did u owingly and w illfully combine,conspire,and ap eewith each otherand others,known and

  Imknown to the Cxrand Jury,to com zptly otherwise obs% ct,influence,and im pede an om cial

  proceeding,inviolationofTitle18,UnitedStatesCode,Section1512(c)(2);a11inviolationofTitle

   18,UnitedStatesCode,Section 15121).

                                         FORFEITUPF
                                       (21U.S.C.j853)
                                    (18U.S.C.j981(a)(1)(C))
           1.    The allegationsofthislndice entarere-alleged and incom orated by tbisreference

   fully incorporated herein for the pup ose of alleging forfeiture to the United Sàtes of certain

   property in which any of the defendants, ALBERICO AH IAS CRESPO, JORGE DIAZ

   GUTW RREA YANDRE TRUJILLO HERNANDEA and ANM S LORENZO have an

   interest.
                 Upon conviction ofany violation ofTitle21,Urlited StatesCode,Sections846 and
           2.

   841,asallegedinthislndice ent,thedefendantshallforfeittotheUnitedStatesanyproperty
                                                 8
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 constituting,or derived from ,any proceeds obtained,directly or indirectly,as a resultof such

 offense,and any property used,or intended to be used,in any m nnner orparq to commit,orto

 facilitatethecommissionof,suchoFense,pmsunnttoTitle21,UnitedSGtesCode,Section853(a).
               Upon conviction ofany violation ofTitle 18,United StatesCode,Section 1512,as
        3.
  alleged in this lndicM ent,the defendantshallforfeitto the United States any property,realor

  personal,which constitutesorisderived from proceedstraceableto such oFense,purslmntto Title

  18,UnitedStatesCode,Section981(a)(1)(C).
         4.    Ifanyoftheproperty subjectto forfeiture,asaresultofany actoromissionofthe

  defendant:
                (a)    cannotbelocatedupontheexerciseofduediligence;
                (b)    hasbeenkansferredorsoldto,ordepositedw1t11athirdparty;
                (c)    hasbeenplacedbeyondthejurisdiction oftheCourt;
                (d)    hasbeensubstantiallydiminishedinvalue;or
                (e)    hasbeencommingledwithotherpropertywhich cnnnotbesubdivided

                       withoutdim culty;
  theUnited Statesshallbe entitled to forfeittlre ofsubstituteproperty undertheprovisionsofTitle

  21,United SGtesCode,Section853û9.




                                                9
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        '
            A1lplzrsllnntto Title21,United StatesCode,Section 853 and Title 18,United StatesCode,

  Section982(a)(2)(B);andtheproceduressetforth atTitle21,United StatesCode,Section 853,as
  madeapplicableby Title18,UnitedStatesCode,Section982(b).

                                                       A TRU E B ILL



                                                       FOREPERSON




            A FAJ   O ORSHAN
               TAT ATTO RN EY
  SOU            DI RICT OF F ORIDA

             r A         .              .          n
    AN T.M CLAU GH
        ANT UNIT ST               S ATT       Y
  S0U    RN DIST CT              LORIDA

            N W W                     U
   HRISTOPHER J.C ARK
  ASSISTANT UNIT D ST ES ATTORNEY
  SOUTHERN DIS       F FLORIDA




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  Case 1:21-cr-20005-DPG Document  D ST
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                                                TRICTCOURT
                                                  FLSD Docket 01/06/2021 Page 11 of 16
                                                                   ISYRICT OF FLORIDA
   UNITED STATES OF AMERICA                                  CASE NO.
   VS.

   ALBERICO AHIAS CRESPO                                   CERTIFICATE OF TRIAL ATTORNEY
   JORGE DlM GUTIERRc , ,
   YANDR
         E TRUJILLO HERNANDEZ,
   and
   ANAIS LORENZO,
                                  Defendants.
                                                           SupeO eding Case Inform ation:
  Coud Division:(sel
                   edOne)                                  N
                                                           New Defendanqs)                    Yes         No
                                                            umberofNew Defendants
    X F
      Mi
       TaLmi                     W
                                 Ke):West        FTp       Totalnumberofcounts

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                                                the    allegationspftheindictmqnt,thenumberqfdefendants,the numberof
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                         Iam qwarelhatth#informationsuppliedonthisptqtemeqtwillbe relieduponbytheJudgesofthis
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                         Act, Title 28 U.S.C.Sectlon 3161.
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           IV            21
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           V                     and over              -
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           6.     Hasthis case been previ
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           Judge:                                     Case No.
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           Hasa com plalntbeen filed In thls matteo                (YesorNo)        YAL
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           RelatedMisc#ll
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           Defendantls)In statecustodyasof
           Rule 20 from the
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               sa potentialdeath penaltycase?(YesorNo)

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                                             2003?      tterpenxdinginNotheNodhernRegionoftheU.S.Attorney'sOffice
                                                       Yes

           8.        D?estothSept
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                                            e from a matterpending inthe CentralRegion ofthe U.S.Attorney's Office
                                           2007?      Yes x        No



                                                                   SEAN T.MCLAUGHLIN
                                                                   ASSISTANT UNITED STATES AU ORNEY
                                                                   Coud No.A5501121
Tenalty%eetfglattached                                                                                  REV4/8/08
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                                    UM TED STATES DISTRICT CO URT
                                    SOUTHERN DISTRICT OF FLORIDA

                                               PEN AL TY SH EET

           DefendantfsNam e:ALBERICO AIIIAS CRESPO

           C ase N o:

           Count#:1

           Consoiracv to Distributeand Possessw ith lntentto Distributea Controlled Substance

           Title21.United StatesCode.Sections846 and 841(b)(1)(C)
,
    y77-   jy                                        .
           *M ax.PenaI+ : 20Years'lmprisonment
           Count#:5

           Conspiracyto CommitW itnessTampering

           Title18.United StatesCode.Sections1512(k)and 1512(b)(3)
           *M ax.Pçpalty:20 Years'lmprisonm ent

           Counts#:7-9

           W imessTampering

           Title 18.United StatesCode.Section 1512(b)(3)
           * M ax.Penalty:20 Y ears'Im prisonm ent

           Count#:10

           Conspiracv to Obs% ctJustice

           Title 18.United StatesCode.Sections1512(k)and 1512(c)(2)
           *M ax.Penalty:20 Years'lmprisonm ent




            *R efers only to possible ten n ofincarceration,does notinclude possible Fm es,restitutiom
                     specialassessm ents,parole term s,or forfeitures thatm ay be applicable.
Case 1:21-cr-20005-DPG Document 46 Entered on FLSD Docket 01/06/2021 Page 13 of 16




                               UM TED STATES DISTRICT COIJRT
                               SO UTH ERN DISTRICT OF FLORIDA

                                         PENALTY SHEET

  DefendantfsNam e:JORGE DIAZ GUTIERREZ



  Count#:1

  Conapkaçy to Distribute and Possessw ith Intentto D iskibute aConkolled Substance

  Title21.Um'ted StatesCode.Sections846 and841(b)(1)(C)
   .        .   ..   . .

  *Vax 'eàxity:,2.0Years'Imprisonment                                                              yr
                                                                                                    ,
  Counts#:2-4

  D-isM bution and Possession w ith IntensSo Distribute aControlledSuhslance
                                                                       -




  Title21.United StatesCode.Sections841(a)(1)and841(b)(1)(C)
  * M ax.Penalty: 20 Years'Im prisonment

  Cotmt#:5

  Conspiracy to Com mitW im essTampering

  Title 18.United StatesCode.Sections1512(k)and 1512(b)(3)
  * M ax.Penalty:20 Years'Imprisonm ent

  Counts#:6,8
  W imessTam pering

  Title 18.United StatesCode.Section 1512(b)(3)
  *M ax.Penalty:20 Years'Im prisonm ent




       WR efers only to possible term ofincarceration,does notinclude possible fm es,restitutiom
                specialassessm ents,parole term s,or forfeitures thatm ay be applicable.
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                           UM TED STATES DISTRICT CO URT
                           SOUTHERN DISTRICT OF FLORIDA

                                   PENALTY SHEET

  DefendantfsNam e:JORGE DIAZ GUTIERREZ

  CaseNo:

  Count#:10

  Conspiracv to ObstructJustice

  Title18.UnitedStatesCode.Sections1512(k)and 1512(c)(2)
  *M ax.'Penalty:20 Years'Imprisonm ent




   *Refersonly to possibleterm ofincarceratiom doesnotincludepossibleFm es,restitution,
          specialassessm ents,parole term s,orforfei- res thatm ay be applicable.
Case 1:21-cr-20005-DPG Document 46 Entered on FLSD Docket 01/06/2021 Page 15 of 16




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                     PENALTY SHEET

  Defendant'sNam e:YAO RE TRUA LLO H ERNANDEZ

  CaseNo:

  Count#:1

  Conspiracy to Distribute andPossesswith Intentto DisG bute a Conkolled Substance

  Title 21.United StatesCode.Sections846 and 841(b)(1)(C)
   '
   (      .             -
  * M ax.Penalty: 20 Years'lmprisonm ent

  Counts#:3 and 4

  Distribution and Possession with lntenttoD istributea Controlled Substançç

  Title 21.United StatesCode.Sections841(a)(1)and 841(b)(1XC)
  * M ax.Penalty: 20 Y ears'Im prisonm ent




   WR efersonly to possible term ofincarceration,doesnotinclude possible nnes,restitution,
           specialassessm ents,parole term s,or forfeitures that m ay be applicable.
             Case 1:21-cr-20005-DPG Document 46 Entered on FLSD Docket 01/06/2021 Page 16 of 16




                                                                                                UNITED STATES DISTRICT COURT
                                                                                                SOUTH ERN DISTRICT OF FLORIDA

                                                                                                       PENALTY SHEET

                      Defendant'sNam e:ANM S LORENZO

                      CaseNo:

                      Count#:1

                     Cotwpkacy to DisG buteand Possessw ith Intentto D iskibute aControlled Substance

                      Title21.United StatesCode.Sectionsf846 and841(b)(1)(C)
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                      *M ax.Penalty: 20 Yenm'Im prisonment




                         WR efersonly to possible term ofincarceration,doesnotinclude possible Fm es,restitutiom
                                 specialassessm ents,parole term s,or forfeitures that m ay be applicable.
